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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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UNITED STATES OF AMERICA

Plaintiff,
VS. CR. NO. 05-20314-Ml
CYNTHIA RENEE JENKINS

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came to be heard on August 23, 2005, the United States
Attorney for this district, Carroll Andre, appearing for the Government and
the defendant, Cynthia Renee Jenkins, appearing in person and with counsel,
Michael Robbins, who represented the defendant.

With leave of the Court, the defendant waived Indictment and entered
a plea of guilty to Count l of the Information.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for WEDNESDAY, NOVEMBER 16, 2005, at
9:00 a.m., in Courtroom No. 4, on the 9th floor before Jddge Jon Phipps
McCalla.

Defendant is released on her own recognizance.

ENTERED this the Z§ day of August, 2005.

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JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

This document entered on the docket set in cnmp|i nce
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UNITED S`AS,TE DSTRIC COURT - WESRTE DISTRICT TNNESSEE

    

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Honorable J on McCalla
US DISTRICT COURT

